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IN THE UNITED STATES DIS'I`RICT COURT
FOR THE DISTRICT OF MARYLAND

SECURITIES AND EXCHANGE
COMMISSION,

Plaintifi`,
v.
KEVIN B. MERRILL, et al.,

)
)
)
)
) Case No.: l:18-cv-02844-RDB
)
)
)
)
Defendants. )

 

ORDER GRANTING RECEIVER GREGORY S. MILLIGAN’S
MOTION FOR ORDE_R AUTHORIZING EMPLOYMENT AND
COMPENSATION OF VELOCITY PORTFOLIO GR()UP. INC.

Ff`his matter is before the Court on the Motion for Order Authorizing Employrnent and
Compensation of Velocity Portfolio Group, Inc. (“yMy”) (the “_LML”), filed by Gregory S.
Milligan, the Court-appointed receiver in the above-captioned case (the “Receiver”). The Court,
having considered the Motion and all papers and pleadings filed in support thereof, and after due
deliberation and finding sufficient cause therefore, finds that the Motion should be GRANTED.

IT IS THEREFORE ORDERED, ADIUDGED, AND DECREED THAT:

l. The Motion is GRANTED in its entirety.

2. The Receiver is hereby authorized to employ Velocity as advisor to the Receiver
pursuant to the Letter Agreernent attached as Exhibit A-l to the Motion.

3. The Receiver is hereby authorized to pay Veloeity pursuant to the Letter
Agreement attached as Exhibit A-l to the Motion, without further order of the Court.

IT ls so oRDERED, this 260:1;} OF_FEb/mwi ,2019,

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UNlTED STATES DISTRICT JUDGE

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